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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

JACQUELINE STEVENS,                               )
                                                  )
                  Plaintiff,                      )
                                                  )
v.                                                )          Civil Action No.: 1:17-cv-2853
                                                  )
U.S. IMMIGRATION AND CUSTOMS                      )          Chief Judge Rebecca R. Pallmeyer
ENFORCEMENT,                                      )          Magistrate Judge Jeffrey T. Gilbert
                                                  )
                  Defendant.                      )


             PLAINTIFF’S REPLY IN SUPPORT OF PARTIAL SUMMARY JUDGMENT
     AND RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT



                                       INTRODUCTION

     Professor Stevens is entitled to summary judgment that Defendant U.S. Immigration and Customs

Enforcement (“ICE”) improperly withheld agency records by failing to conduct an adequate search

and by withholding reasonably segregable, non-exempt portions of records responsive to her Freedom

of Information Act (“FOIA”) request. Because Defendant’s newest declarations fail to carry the

agency’s burden of demonstrating it is entitled to summary judgment, ICE’s motion should be denied.

     With respect to the adequacy of ICE’s search, summary judgment is warranted in Professor

Stevens’ favor for at least three reasons. First, ICE admits that the Law Enforcement Support Center

(“LESC) is an agency component in possession of at least four responsive records. That component

was not tasked, however, because ICE claims “any LESC information is captured by” the Immigration

Law and Practice Division (“ILPD”) of the ICE Office of Principal Legal Advisor (“OPLA”).

Notably, ICE does not contend that the records created by LESC are identical to those produced by

OPLA. Instead, the agency seeks to piggyback on OPLA’s production to show no search of LESC

was necessary. Because the FOIA entitles Professor Stevens not just to “information,” but to any


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“record” of that information, 5 U.S.C. § 552(f)(2)(A), ICE must task the LESC with conducting an

adequate search.

     Second, ICE claims that its Enforcement and Removal Operations (“ERO”) would contain

responsive records entirely duplicative of those compiled by OPLA. ICE’s declarations, however,

undermine that notion as well. That is because both ICE declarants specifically reference ERO

officials taking decisions and creating records about U.S. Citizenship claims that are both (a) separate

and unique from the records OPLA searched for and produced; and (b) responsive to Plaintiff’s FOIA

request.

     Third, ICE’s attempt to knock down the premises of Professor Stevens’ math without disclosing

the total number of U.S. Citizenship Claims Memorandum (“USC Claims Memos”) OPLA created

during the period at issue precludes the agency from satisfying its burden.

     As for the agency’s withholdings, ICE has failed to meet its burden of demonstrating that its

withholdings under Exemptions 5, 6, and 7 are justified and that no reasonably segregable, non-

exempt material has been improperly withheld. Consequently, the Court should order ICE remove

several categories of redactions from the records ICE has already produced, and enjoin ICE from

applying those withholdings on future productions to come once ICE conducts an adequate search.

                                           ARGUMENT

I.      ICE’S SEARCH IS INADEQUATE.

     Professor Stevens is entitled to summary judgment that ICE violated the FOIA by failing to

conduct an adequate search for records responsive to her request. The agency’s own admissions in its

recently filed declarations demonstrate that two ICE components that are likely to possess responsive,

non-duplicative records. Those components consequently should have been tasked with searching for

and producing those records. Consequently, the justifications offered by the agency for failing to task

the Law Enforcement Support Center (“LESC”) or retrieve documents from Enforcement and



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Removal Operations (“ERO”) fail to meet the agency’s burden of showing it conducted an adequate

search.

          A. Professor Stevens Is Entitled to Summary Judgment Because ICE Admits LESC Possesses
             Responsive Records, Yet Refuses to Task a Search for Them.

    Professor Stevens is entitled to summary as to the adequacy of ICE’s search because ICE admits

that responsive records exist within the LESC but neglects to adequately explain its failure to task the

LESC with a search. See ECF No. 69 (Def.’s Br. Opp. Pl.’s Mtn. for Summ. Jmt. & Memo Supp.

Cross-Mtn for Summ. Jmt., hereafter “ICE Memo”) at 9-10. To prevail on summary judgment as to

the adequacy of its search, ICE must offer reasonably detailed, non-conclusory affidavits “that aver

that all files likely to contain responsive documents were searched.” Henson v. Dep’t of Health & Human

Servs., 892 F.3d 868, 875 (7th Cir. 2018) (citing Rubman v. U.S. Citizenship & Immigration Servs., 800 F.3d

381, 388 (7th Cir. 2015) and Oglesby v. U.S. Dep’t of the Army, 920 F.2d 57, 68 (D.C. Cir. 1990)). Here,

ICE does the opposite by admitting there are responsive documents within the LESC and conceding

ICE failed to task searches for them.

    ICE admits Plaintiff’s factual averments that the LESC follows a standard operating procedure

and maintains records that would appear to be responsive to Professor Stevens’ request. ECF No. 67,

ICE L.R. 56.1 Stmt., ¶¶ 16-20. ICE contends, however, that the LESC “was not tasked with

responding to Stevens’ FOIA request because it was unlikely to have unique, responsive documents.”

ECF No. ICE L.R. 56.1 ¶ 62 (citing ECF 67-2, Pineiro Decl. ¶ 30). ICE then admits that at least four

unique, responsive records do exist within the LESC that the agency has failed to produce. Id. (stating,

without attribution, that four calls to the LESC regarding U.S. Citizenship claims did indeed occur

during the period at issue in this litigation). Yet the agency fails to explain why the records created

within the LESC in fielding these four calls and others would necessarily be duplicative of those

searched for and produced by OPLA, or why they necessarily would match the information entered

by ERO. See Pineiro Decl. ¶ 30. There is simply no factual material in ICE’s declarations from which


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to conclude that because the LESC passes information on to ERO, all LESC records would be

duplicative.

    To the contrary, the System of Records Notification (“SORN”) for ICE’s LESC database,

ACRIMe, demonstrates that at least some records gleaned from calls to the US Citizenship Hotline

will be originated and contained within the LESC’s records. See U.S. Department of Homeland

Security, Notice of Privacy Act System of Records, Immigration and Customs Enforcement (ICE)–

007 Law Enforcement Support Center (LESC) Alien Criminal Response Information Management

(ACRIMe) System of Records, 73 Fed. Reg. 74739, 74741 (Dec. 9, 2008) (“Categories of Individuals

Covered by the System: . . . (2) Individuals who make reports to the DHS/ICE Tip-line and individuals

about whom those reports were made.”). The SORN therefore suggests that LESC maintains

responsive records apart from a simple email to ERO that would then, according to ICE, be forwarded

to OPLA.

    Whether, as ICE alleges, responsive records created and maintained by the LESC may contain

information that matches or duplicates what ultimately may end up in OPLA’s files is immaterial to

the question of whether ICE should have tasked this component to search for those records. The

agency’s approach in this case – excluding from its search one potential custodian because the

information in those records should purportedly resurface in the files of another – fails to comply

with the Act’s requirement that ICE “liberally construe” Professor Stevens’ request. See, e.g., The Nation

Magazine v. U.S. Customs Serv., 71 F.3d 885, 890 (D.C. Cir. 1995). And the reasoning ICE advances in

the declarations submitted to date fails to “demonstrate beyond all material doubt that its search was

reasonably calculated to uncover call relevant documents[,]”—not just all relevant information. Valencia

v. U.S. Coast Guard, 180 F.3d 321, 325 (D.C. Cir. 1999) (emphasis added). Consequently, summary

judgment in Plaintiff’s favor should be entered, and ICE should be ordered to task the LESC with

conducting a search for responsive records.



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        B. ICE’s Declarations Show ERO Should Have Been Tasked with a Search.

    Plaintiff is also entitled to summary judgment on search adequacy because ICE’s newest

declarations show ERO is likely to possess records responsive to her request that ICE failed to search

for. ICE goes to great lengths to describe the process by which OPLA completes and transmits USC

Claims Memos to ERO for review and decisions-making, and to distinguish between the roles of those

two agency components. See, e.g., ECF No. 67-1 (Dent Decl.) ¶¶ 7-11. ICE is careful to note the

purportedly separate and independent role of OPLA’s “clients”, i.e., ERO officials, in making

decisions based on OPLA’s USC Claims Memos, and in providing additional information to allow the

updating of those memos. Id. ¶¶ 10-11.

    Far less fulsome, however, is ICE’s explanation for why the ERO Information Disclosure Unit

(“IDU”) failed to task any ERO Field Office or headquarters official with a search for records

responsive to Professor Stevens’ request. See ECF No. 67-2 (Pineiro Decl.) ¶¶ 24-30. Indeed, despite

ICE’s repeated references to decision-making, claims reporting, and fact-gathering purportedly being

done by ERO – be it receiving a referral from the LESC for a potential USC Claim and forwarding to

the USC Claims inbox, or deciding on whether to recognize a citizenship claim based on a finalized

USC Claims Memo, or taking subsequent action to revise the agency’s analysis based on new evidence

– ERO officers plainly do more, in ICE’s telling, than simply checking the contents of the shared

OPLA-ERO inbox. Nevertheless, ERO unilaterally limited the potential source of responsive records

to that shared inbox – and literally no individual ERO officer or office. Id. ¶¶ 28-30.

    By its terms, Professor Stevens’ request for ICE correspondence about USC Claims “includes but

is not limited to email received by or sent to an email address established by ICE for the purposes of

assessing claims of US Citizenship.” ECF 67, ICE L.R. 56.1 Stmt, ¶ 53. ICE offers no explanation,

much less a sufficiently detailed one, for why ERO officials in the agency’s field offices were not

tasked with searching for records responsive to Plaintiff’s request. As significant, ICE provides no



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explanation for failing to task searches of the very same ERO officials who are purportedly reviewing

and deciding upon finalized USC Claims Memos. Thus, it is not ICE that is entitled to summary

judgment as to the adequacy of ERO’s search, but Professor Stevens.

        C. ICE’s Search for USC Claims Memos Is Inadequate Because the Agency’s Reliance on
           Secret Math Does Not Satisfy Its Burden.

    In the materials attached to her motion for partial summary judgment, Professor Stevens

attempted to demonstrate using the limited information at her disposal regarding ILPD’s total

numbers of USC Claims Memos that the number of memos released in this case falls far short of what

would be expected based on ILPD’s own records, obtained under separate FOIA requests. ECF No.

7-11. In response ICE cannot (or will not) say how many USC Claims Memos it created during the

search period at issue in this litigation. In other words, ICE refuses to provide the denominator in the

equation Professor Stevens seeks to solve, i.e., how many unique cases did ICE review during the

period at issue in this FOIA request? Instead, the agency protests that Professor Stevens’ math –

which she and her students attempted to deduce from heavily redacted records – is incorrect. ECF

No. 69, ICE Memo at 10-11.

    Nestled within ICE’s assault on Professor Stevens’ math is an assault on mathematics itself that

calls into question the candor, or perhaps, the mathematical competency, of the Declarant. Specifically,

ICE contends, “First, no ‘daily average’ exists, nor can one be created.” ECF No. 67-1, Dent. Decl.

¶ 20 (emphasis added). Instead, ‘all statistics are reported on a monthly, quarterly, or annual basis.” Id.

By definition, any set of numbers for which a monthly total set exists could, if given the right

denominator, be divided by 30 or 31 to create a daily average number of cases for each day of that

month. The same could be achieved by dividing the quarterly total of claims by the number days in

the quarter, or for an annual dataset by dividing the total number of claims by 365. ICE thus refuses

to provide these correct statistical numbers while its own declarant admits they exist. ECF No. 67-1,




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Dent Decl. ¶ 20. Perhaps that is because the agency knows Professor Stevens could divide the total

number and show how fall short OPLA’s search fell. ECF No. 69 at 10-11. No other explanation is

provided in ICE’s declarations.

    In the final analysis, the closest ICE gets to affirmatively meeting its burden on this issue is

contending that the total of 348 memos Plaintiff received “is relatively close” to the 388 she estimates

were created during the same period based on other ILPD documents she has obtained, so her ‘faulty

math’ keeps her challenge to the adequacy of the agency’s search. Without disclosing the actual

number of USC Claims Memos ICE created during the period at issue, ICE cannot possibly

“demonstrate beyond all material doubt that its search was reasonably calculated to uncover call

relevant documents.” Valencia, 180 F.3d at 325. Unless ICE is willing to show its own math, it cannot

simply allege that Professor Stevens’ math is “faulty.” Accordingly, Defendant’s motion for summary

judgment should be denied, and Plaintiff’s motion should be granted.

II. ICE’s Withholdings are Unlawful.

    Because disclosure is “the dominant objective of the FOIA,” this Court should construe “FOIA

exemptions narrowly in favor of disclosure.” Patterson v. I.R.S., 56 F.3d 832, 835 (7th Cir. 1995)

(internal quotation marks omitted). Here, ICE has the burden of justifying its decision to withhold

requested documents. Id.; see also 5 U.S.C. § 552(a)(4)(B) (“the burden is on the agency to sustain its

action”). The agency fails to meet its burden of demonstrating all of its withholdings are proper and

all reasonably segregable non-exempt information has been released.

        A. ICE’s Vaughn Index Is Insufficiently Detailed to Satisfy the Agency’s Burden.

    The Vaughn index and declarations ICE submitted fail to meet the agency’s burden under the

FOIA. In support of its Cross-Motion for Summary Judgment, ICE submits a 10-page Vaughn index

setting forth legalistic and conclusory assertions that portions of records have been withheld based on

various withholdings. Taken individually or in tandem with ICE’s declarations, the materials submitted



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do not comply with Vaughn and do not allow the Court to make an individualized determination as to

whether any of the particular records ICE lumps into each field are actually within the claimed

Exemptions based on the claimed rationales provided by the agency. “While the government need not

furnish repetitive descriptions of the same type of document and may describe commonalities among its

withholdings, it must avoid resorting to explanation in generalities.” Am. Immigration Council v. DHS, 950

F. Supp. 2d 221, 237 (D.D.C. 2013) (citing Judicial Watch v. FDA, 449 F.3d 141, (D.C. Cir. 2006)).

While a document-by document description is not always necessary, id. at 237, ICE must provide

enough information for the district court to fairly evaluate the application of a claimed exemption to

distinct categories of documents supplied.

    Here, ICE resorts to conclusory, general assertions without offering any description of the

particular substance of each document and why the alleged withholdings fall within the claimed

exemptions. Under these circumstances, ICE’s claims under Exemptions 6 and 7 are impossible to

assess. For instance, Professor Stevens has no way of testing ICE’s claims that withholding so-called

“case history” information, including immigration and criminal history details, under purported

privacy concerns is proper. To be sure, Plaintiff does not seek the name, date of birth, full A-Number,

or social security number of any subject or third party whose personally identifiable information is

contained in the responsive records. But to meaningfully respond to ICE’s claims of privacy invasion

based on the expansion of public databases, an individualized, line-by-line analysis is required. Because

ICE has not submitted an adequate Vaughn index, summary judgment should be denied, and Plaintiff

should be permitted to supplement her challenges to the agency’s withholdings once ICE produces a

legally sufficient justification for its withholdings.

        B. ICE’s Policy Forecloses ICE’s Attorney-Client Privilege Claims Regarding Finalized USC
           Claims Memos.




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    Finalized USC Claims Memos are not subject to withholding under Exemption 5 based on the

attorney-client privilege because they are required to be stored in databases accessible to and accessed

by parties outside of the attorney-client relationship between OPLA and ERO. The attorney-client

privilege protects from disclosure confidential communications from clients to their attorneys, as well

as communications from attorneys to their clients containing confidential information supplied by the

client. See Tax Analysts v. IRS, 117 F.3d 607, 618 (D.C. Cir. 1997). As with the other prongs of

Exemption 5, the burden rests with the Government to prove, through “detailed and specific

information,” that the withheld information falls within the domain of the privilege. See Campbell v.

U.S. Dep’t of Justice, 164 F.3d 20, 30 (D.C. Cir. 1998).

    To sustain an Exemption 5 withholding based on the Attorney-Client privilege, the government

bears the burden of demonstrating the communications between attorney and client are and remained

confidential between ERO and OPLA. See, e.g., Maine v. U.S. Dep’t of Interior, 298 F.3d 60, 71-72 (1st

Cir. 2002); Mead Data Cent. Inc. v. U.S. Dep’t of the Air Force, 566 F.2d 242, 252 (D.C. Cir. 1977); Cuban

v. SEC, 744 F. Supp. 2d 60, 79-80 (D.D.C. 2010). Records shared with parties outside the attorney-

client relationship lose their privileged character under Exemption 5.

    By distributing finalized USC Claims Memos that might otherwise be protected by the attorney-

client privilege outside the bounds of the attorney-client relationship, ICE destroys the privileged

character of those Memos. Contrary to ICE’s declarations, see ECF No. 67-1 ¶ 11, ICE Policy 16001.2

requires ICE personnel to save finalized USC Claims Memos in several locations aside from PLAnet.

ECF No. 67-1 at 18 (“6. Recordkeeping.”) Specifically, ICE personnel must store the finalized USC

Claims Memo in the subject’s Alien File (“A-File”) within the National File Tracking System. Id.

(“Records generated pursuant to this directive are maintained in the Alien File, Index, and National

File Tracking System of Records, 76 Fed. Reg. 34223 (Jun. 13, 2011) . . . and the Immigration and

Enforcement Operational Records (ENFORCE), 75 Fed. Reg. 23274 (May 3, 2010). Both the A-File



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and ENFORCE systems are accessible to a wide variety of non-ERO, non-OPLA, and non-ICE

actors—including, most notably, the United States Citizenship and Immigration Services (“USCIS”)

and State Department adjudicators who are supposed to render an independent adjudication of

affirmative claims for U.S. Citizenship or passport documents lodged by subjects of the finalized USC

Claims Memos. See ICE Policy 16001.2 § 4(f).

        C. ICE’s Finalized USC Claims Memos Do Not Consist Exclusively of Attorney Work
           Product.

    Because ICE’s USC Claims Policy dictate that finalized USC Claims Memos are prepared for the

purpose of “ensuring that the potential U.S. citizenship claims of individuals encountered by U.S.

Immigration and Customs Enforcement (ICE) officers, agents, and attorneys is immediately and

carefully investigated and analyzed,” ICE’s post hoc litigation rationalization that USC Claims are

prepared in anticipation of litigation fails. Compare ECF No. 67-1 at 12, ICE Policy 16001.2

(“Purpose/Background”) with ECF No 69, ICE Memo at 14-16. While it is conceivable that USC

Claims Memos eventually find their way into the files of some future litigation, that is not their

purpose. Rather, the memos allow the agency to full “ICE policy to carefully assess and expeditiously

investigate and analyze the potential U.S. citizenship claims of individuals encountered by ICE.” ECF

No. 67-1 at 12, ICE Policy 16001.2 (“2. Policy”).

    ICE’s categorical statement that all finalized USC Claims Memos are prepared in anticipation of

litigation fails for reasons articulated in American Immigration Council v. DHS, 950 F. Supp. 2d 221,

(D.D.C. 2013):

    While it may be true that the prospect of future litigation touches virtually any object of a
    [law-enforcement agency] attorney's attention, if the agency were allowed “to withhold any
    document prepared by any person in the Government with a law degree simply because
    litigation might someday occur, the policies of the FOIA would be largely defeated.”

(quoting Senate of Puerto Rico v. U.S. Dep’t of Justice, 823 F.2d 574 (D.C. Cir. 1987)). Here, the fact that

the agency’s lawyers are preparing analytical memos is a functional not of reasonably foreseeable



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litigation, but of the legal necessity that ICE refrain from exercising its awesome power as “the second

largest investigative agency in the federal government” ECF No. 67-2, Pineiro Decl. ¶ 18, to arrest,

imprison, or deport U.S. Citizens. The legal necessity to perform this analysis exists independent of

any foreseen litigation.

    Moreover, the agency has failed to explain how each and every facts section of each and every

finalized USC Claims Memorandum described in its Vaughn index would raise attorney work-product

concerns. As such, ICE fails to meet its burden of justifying withholding based on work product

assertions.

        D. The Deliberative Process Privilege Does Not Apply to Finalized USC Claims Memos.

    The finalized USC Claims Memos do not fall within the Deliberative Process Privilege because

they are neither pre-decisional nor related to any ICE policymaking regarding the agency’s approach

to determining whether a potential subject is a U.S. Citizen. See Dep’t of the Interior v. Klamath Water Users

Protective Ass’n, 532 U.S. 1, 8 (2017). ICE is thus not entitled to summary judgment on its Deliberative

Process Privilege withholdings to finalized USC Claims Memos.

    As an initial matter, the agency engages in a rhetorical sleight of hand to suggest that because ICE

cannot formally confer citizenship, the decision-making process reflected in ICE Policy 16001.2 can

never result in a final decision. Through this rhetorical device, ICE would convert all USC Claims

Memos, including final ones as described in ICE’s policy, pre-decisional and subject to withholding

under Exemption 6 pursuant to the deliberative process privilege. ICE Memo at 17-18. What ICE

elides in this ‘we-can’t-grant-citizenship-so-nothing’s-ever-final’ framing is the fact that the agency

must reach a final decision about its jurisdiction over a suspected non-citizen in order to continue

detaining, prosecuting, or deporting them. ICE must make a jurisdictional decision that a person is a

non-citizen before it has the power to engage in any of those enforcement activities.




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    Fortunately, the terms of ICE Policy 16001.2 resolve the ambiguity ICE seeks to inject into the

question of whether a USC Claims Memo can ever become the final statement of the agency’s position.

Section 5.1, Procedures for Investigating and Assessing Potential U.S. Citizenship contains Sections

3(a) and 4, which contemplate a prompt determination by ICE Headquarters and documentation six

courses of action agency personnel are required to take once that determination is made. ECF No.

67-1 at 17. While ICE’s declarants refer to a never-final, never-ending process by which claims

memoranda exist in perpetual limbo, see id. ¶¶ 10-11, ECF 67, ICE L.R. 56.1 Stmt. ¶¶ 40-46, the written

policy those declarants must follow says otherwise.

    In addition, ICE’s analysis of citizenship statutes in the finalized USC Claims Memos does not

constitute policymaking or deliberation about the agency’s approach to the law. Documents explaining

and applying legal precedent are not covered by Exemption 5. See Knight First Amendment Institute at

Columbia Univ. v. DHS, No. 17-7572, 2019 WL 4601718, Slip Op. at 7 (S.D.N.Y. Sept. 23, 2019) (citing

Brennan Ctr. for Justice at NYU School of Law v. DOJ, 697 F.3d 184, 201 (2d Cir. 2012); Tax Analysts v.

IRS, 294 F.3d 71 (D.C. Cir. 2010); Public Citizen v. OMB, 598 F.3d 865 (D.C. Cir. 2010). Thus, any

analysis that may be occurring under the redactions in the legal sections of ICE’s USC Claims Memos

is not and cannot constitute true policy deliberation, as ICE is not free to change the federal

government’s policy on who is and is not a U.S. Citizen. U.S. Const. Art. I. § 8 (“To establish a uniform

Rule of Naturalization.”). For these reasons, ICE is not entitled to summary judgment on its

deliberative process privilege claims.

                                           CONCLUSION

    For the foregoing reasons, the Court should GRANT Plaintiff’s motion for partial summary

judgment, ORDER ICE to conduct an adequate search, and ENJOIN ICE’s improper withholdings

in violation of the Freedom of Information Act. The Court should DENY ICE’s Motion for

Summary Judgment in its entirety.



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Dated: November 11, 2019              Respectfully submitted,

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